                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION

                                        NO. 5:24-CV-481-FL


 SUSAN JANE HOGARTH,                            )
                                                )
                        Plaintiff,              )
                                                )
       v.                                       )
                                                )
 KAREN BRINSON BELL, in her official            )
 capacity, ALAN HIRSCH, in his official         )
 capacity, JEFF CARMON, in his official         )
 capacity, STACY EGGERS IV, KEVIN N.            )
 LEWIS, and SIOBHAN O’DUFFY                     )
 MILLEN, in their official capacities,          )                    ORDER
 DANIELLE BRINTON, in her official              )
 capacity, OLIVIA MCCALL, in her official       )
 capacity, ERICA PORTER, in her official        )
 capacity, ANGELA HAWKINS, in her               )
 official capacity, GREG GLYNN, GERRY           )
 COHEN, and KEITH WEATHERLY, in                 )
 their official capacities, LORRIN              )
 FREEMAN, in her official capacity, and         )
 JOSH STEIN, in his official capacity,          )
                                                )
                        Defendants.             )



       This matter is before the court following a Rule 16 status conference held September 13,

2024, at which counsel for all parties were present. At the conference, and following discussion

between the court and the various parties, the court issued oral orders on several case management

matters, memorialized below:

       1. Deadline to answer the complaint is extended, with plaintiff’s consent, to October 18,

            2024, for all defendants;




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2. Plaintiff’s motion to expedite consideration of her preliminary injunction motion (DE

   12), is allowed insofar as hearing on plaintiff’s motion (DE 9) is set for October 7, 2024

   at 1:30 PM at New Bern; and

3. If issues in scheduling or other arise prior to hearing, the parties are invited to request

   conference by telephone with this court.

SO ORDERED, this the 13th day of September, 2024.



                                                      _____________________________
                                                      LOUISE W. FLANAGAN
                                                      United States District Judge




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